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IN THE UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF OHIO
EASTERN DIVISION




 ------------------------------------------------    :
 UNITED STATES OF AMERICA                            :
                                                     : CASE NO. 1:06CR401
                                         Plaintiff   :
                                                     :
                       -vs-                          :
                                                     :
 BENNY FLEMING                                       : ORDER ACCEPTING PLEA AGREEMENT
                                                     : AND JUDGMENT AND NOTICE OF
                                      Defendant      : HEARING
 ------------------------------------------------    :


UNITED STATES DISTRICT JUDGE LESLEY WELLS


       This case is before the Court on a Report and Recommendation filed by United

States Magistrate Judge Nancy A. Vecchiarelli regarding the change of plea hearing and

plea agreement of Benny Fleming which was referred to the Magistrate Judge with the

consent of the parties.

       On 22 August 2006, the government filed a three-count indictment against

Benny Fleming for conspiracy, money laundering, and aiding and abetting in violation of

18 U.S.C. § 371, 18 U.S.C. § 1957, and 18 U.S.C. § 2. On 8 September 2006, a hearing

was held in which Benny Fleming entered a plea of not guilty before Magistrate Judge

Vecchiarelli. On 19 December 2006, Magistrate Judge Vecchiarelli received Benny

Fleming’s plea of guilty and issued a Report and Recommendation (“R&R”) concerning

whether the plea should be accepted and a finding of guilty entered.
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         Neither party submitted objections to the Magistrate Judge's R&R in the ten days

after it was issued.

         On de novo review of the record, the Magistrate Judge's R&R is adopted.

Benny Fleming is found to be competent to enter a plea. He understands his

constitutional rights. He is aware of the charges and of the consequences of entering a

plea. There is an adequate factual basis for the plea. The Court finds the plea was

entered knowingly, intelligently, and voluntarily. The plea agreement is approved.

         Therefore, Benny Fleming is adjudged guilty of Count Four in violation of

18 U.S.C. § 1957.

         Sentencing will be:

                       12 March 2007 at 3:00 p.m.

                       Courtroom 19-A
                       19th Floor, United States District Court
                       801 West Superior Avenue
                       Cleveland, Ohio 44113


         IT IS SO ORDERED.



Dated:         16 January 2007                   /s/Lesley Wells
                                                 UNITED STATES DISTRICT JUDGE




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